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CRAIG M. REISER
114 WEST 47TH STREET
NEW YORK, NY
212.728.2218
CREISER@AXINN.COM




                                                            March 11, 2024

Via ECF

The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

           Re:         In re Google Digital Advertising Antitrust Litigation, No. 1:21-md-03010 (PKC)
                       Associated Newspapers Ltd. v. Google LLC, No. 1:21-cv-03446 (PKC)

Dear Judge Castel:

        On behalf of Defendants Google LLC and Alphabet Inc. (together, “Google”), we
request permission to move for an order compelling Plaintiffs Associated Newspapers Ltd. and
Mail Media, Inc. (together, “Daily Mail”) to search for and produce documents from the
custodial files of two key Daily Mail employees who are likely to have documents relevant to
Daily Mail’s damages and causation allegations: Martin Clarke and Paul Zwillenberg. The
parties have extensively met and conferred on this topic but are unable to resolve this dispute
without Court intervention. No conference is scheduled at this time.

         Daily Mail’s Amended Complaint alleges a wide range of harms resulting from
Google’s purported misconduct: everything from depressed revenue at Daily Mail to the decline
of the newspaper industry more generally. See, e.g., Daily Mail Amended Complaint
(“Compl.”) ¶ 126 (alleging that Google’s Enhanced Dynamic Allocation program “depressed
Daily Mail’s revenue”); id. ¶¶ 5-6 (alleging that while “[o]nline advertising continues to grow,”
“[n]ews publishers do not see the growing ad spending because Google and its parent Alphabet
. . . maintain monopolies for [advertising technology products]” and that, as a result,
“newspapers’ advertising revenue has declined 70% over the last decade” and “20% of all
newspapers have closed” since 2008). Google needs discovery to test whether these purported
wide-ranging harms were caused by other factors, such as Daily Mail’s failure to pivot its
business model from print to digital.

        To that end, Google has over the course of the past four months requested that Daily
Mail collect and produce documents from the custodial files of Paul Zwillenberg, former Chief
Executive Officer of Associated Newspapers Ltd.’s parent company, Daily Mail & General
Trust (“DMGT”), and from Martin Clarke, former editor of MailOnline, which Daily Mail
mentions in the first line of its Amended Complaint—both of whom are likely to have
documents related to Daily Mail’s pivot to digital advertising and the driving forces behind
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Daily Mail’s allegedly depressed revenues. And for months, Daily Mail has objected without
identifying any credible bases for refusing to add as custodians these employees whose
documents are highly likely to shed light on what really caused Daily Mail any injury: Daily
Mail’s own mismanagement.

  I.      Relevant Background

        Google served its First Set of Requests for Production (the “Requests”) on Daily Mail on
January 27, 2023. Even though this Court’s orders obligated Daily Mail to substantially
complete its production of documents in response to those Requests within four months,
Pre-Trial Order No. 5, ECF 394 ¶ 6.1, negotiations related to the Requests (and Daily Mail’s
productions in satisfaction thereof) remain ongoing. In fact, Daily Mail only produced a few
hundred documents before its May 31, 2023 substantial completion deadline, all of which were
re-productions of documents Daily Mail previously produced in third-party discovery. And to
this day, half of Daily Mail’s production is nothing more than automated reports. While Google
and Daily Mail have recently agreed on targeted search terms and a date by which Daily Mail
will finally (albeit belatedly) substantially complete its productions, the parties have not agreed
on the list of custodians whose files are to be searched.

        Google first requested that Daily Mail include Martin Clarke and Paul Zwillenberg as
custodians in a search term and custodian proposal shared with Daily Mail on November 17,
2023. See Ex. A at 11. That custodian proposal named 24 individuals—11 that Daily Mail had
previously agreed to, and a further 13 individuals that Google had independently identified as
likely to have documents that are relevant and proportional to the needs of this case. On
December 6, Daily Mail wholesale rejected all of Google’s 13 proposed additional custodians
without explaining why searching the files of any particular custodian would be duplicative,
unduly burdensome, or otherwise inappropriate. See Ex. B at 2. In the intervening months,
Daily Mail has repeatedly denied or claimed not to understand Google’s request for these
additional custodians, all while creating significant and unnecessary delay in Daily Mail’s
satisfaction of its discovery obligations. Specifically:

       ● On a December 15, 2023 meet-and-confer call, Daily Mail claimed not to understand
         why Google added a further 13 proposed custodians. In response, Google explained its
         justifications for these individuals, including Messrs. Clarke and Zwillenberg. See Ex. C
         at 15 (Jan. 12, 2024 email from Google to Daily Mail stating that Google “provided
         detailed justifications for each of Google’s 13 additional proposed custodians during our
         December 15 meet-and-confer”).

       ● Daily Mail took three weeks to do little more than demand “more fulsome
         justification[s]” from Google “in writing.” See Ex. D at 5. In the interest of moving
         things forward, Google promptly provided such justifications on January 19.

       ● Yet again, Daily Mail took weeks to respond, and yet again it repeated the same
         unsubstantiated refrain that it did not understand the inclusion of Messrs. Zwillenberg
         and Clarke (and other proposed custodians) to be a reasonable means of obtaining
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             relevant information. Jan. 30, 2024 S. Henningson Ltr. to C. Boisvert.1 Daily Mail’s
             only stated basis for rejecting Google’s proposal to add Messrs. Clarke and Zwillenberg
             was that their responsibilities allegedly extended beyond advertising technology and that
             other agreed-upon custodians are likely to have been included in relevant
             correspondence involving Messrs. Clarke and Zwillenberg. Id.

          ● In an effort to reach agreement, Google narrowed its custodian proposal (while reserving
            all rights) and provided further justifications for Messrs. Zwillenberg and Clarke on a
            February 9 meet-and-confer call, following up in writing on February 12. Ex. E at 3.
            Daily Mail took three weeks to deliver the same non-answer. See Ex. C at 3 (Mar. 5,
            2024 Google email to Daily Mail stating: “Given that three weeks had elapsed since the
            February 9 meet-and-confer where we offered to make significant concessions on
            several issues, we were disappointed to learn from Daily Mail’s March 1
            correspondence that Daily Mail’s positions on several key issues—including
            custodians—remain unchanged”).

          ● In one final effort at compromise, Google suggested that it would be willing to withdraw
            its request as to all outstanding proposed custodians (while reserving all rights) if Daily
            Mail would agree to include Messrs. Clarke and Zwillenberg. See Ex. C at 3. In
            response, Daily Mail took the position that it would be willing to add only Martin Clarke
            as a custodian, and only if Google agreed not to seek additional custodians or search
            terms with respect to the Requests. See id. at 1-2.

       Throughout this lengthy meet-and-confer process, Google has invited Daily Mail to
substantiate its claim of redundancy with existing custodians by providing de-duplicated hit
counts for Messrs. Clarke and Zwillenberg. Daily Mail has never done so. Instead, Daily Mail
has dragged its feet and provided canned responses despite Google’s good-faith efforts to
remain efficient, accommodating, and informative throughout these negotiations. Accordingly,
after months of protracted negotiation, the parties are now at an impasse.

    II.      The Court Should Compel Daily Mail to Search for and Produce
             Documents from the Custodial Files of Martin Clarke and Paul Zwillenberg

        The Court should compel Daily Mail to search the custodial files of Martin Clarke and
Paul Zwillenberg using the agreed-upon search terms and produce any responsive information it
locates because these individuals (1) are highly likely to have relevant information about the
reasons behind Daily Mail’s declining revenue, among other things; and (2) are proportional to
the needs of the case. See In re LIBOR-Based Fin. Instruments Antitrust Litig., 2023 WL


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  Because Daily Mail designated the entirety of its letters dated January 30, 2024 and March 1, 2024 as Highly
Confidential, Google has not included them as exhibits to this letter motion. Although Google does not believe the
content of Daily Mail’s letters contains anything even approximating “information . . . likely to cause [Daily Mail]
material and significant competitive or commercial harm,” see Modified Confidentiality Order, ECF 685 ¶ A.1.h,
in an abundance of caution, Google’s discussion of these letters is limited to the characterization of the legal
arguments Daily Mail makes therein. Google is happy to promptly submit these materials to the Court if it would
aid the Court in its disposition of this dispute.
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2871090, at *9 (S.D.N.Y. Apr. 10, 2023) (describing standard for compelling a party to search
the files of additional custodians).

               A. Messrs. Clarke and Zwillenberg are
                  Highly Likely to Have Relevant Information

        Courts routinely find that custodians satisfy Federal Rule of Civil Procedure 26(b)(1)’s
relevance requirement where their documents are reasonably likely to shed light on, among
other things, causation and damages. See, e.g., Greater N.Y. Taxi Assoc. v. City of N.Y., 2017
WL 4012051, at *3 (S.D.N.Y. Sept. 11, 2017) (explaining that a certain group of proposed
custodians was relevant because their emails were “reasonably likely to shed light on whether”
losses were caused by the reasons plaintiffs contended or by “unrelated reasons”). Here, the
custodial files of Messrs. Clarke and Zwillenberg are relevant to shed light on whether Daily
Mail’s revenues declined due to Google’s alleged conduct or for unrelated reasons. Moreover,
public reporting and Daily Mail’s own (limited) document productions to date underscore that
Messrs. Clarke and Zwillenberg were key decision-makers driving Daily Mail’s digital
advertising strategy over the time period relevant to this case. See, e.g., In re Facebook, Inc.
Consumer Privacy User Profile Litig., 2021 WL 10282213, at *2 (N.D. Cal. Nov. 14, 2021)
(granting motion to compel the inclusion of two high-level executives as document custodians
because “they were key decision-makers related to issues at the heart of Plaintiffs’ allegations”).

        Press coverage about Messrs. Clarke and Zwillenberg highlights their involvement in
Daily Mail’s overall digital advertising strategy. See, e.g., Rory Gallivan, Daily Mail Picks
Digital Consultant as New Boss, Wall Street Journal, May 12, 2016 (describing Mr.
Zwillenberg as an individual “with a strong digital background illustrat[ing] how newspaper
publishers are focusing on how to generate more revenue from online advertising”)2; Clive
Irving, Nightmare Week for London’s Last Press Lord: Name-Shamed by Meghan Markle and
His Digital Genius Quits, The Daily Beast, Dec. 5, 2021 (explaining how Mr. Clarke “grasped
the significance” of digital advertising “as a path to making [MailOnline] profitable” and
accordingly pursued a strategy of getting clicks and advertisers on Daily Mail’s properties to
increase Daily Mail’s revenue).3 The leadership of Messrs. Clarke and Zwillenberg and the
success of the efforts described by these public sources are highly relevant to testing Daily
Mail’s claim that it was Google’s alleged monopoly that caused Daily Mail’s harm.

        Daily Mail’s limited productions to date further underscore Messrs. Clarke and
Zwillenberg’s relevance. For example, as Google demonstrated to Daily Mail during the
meet-and-confer process, documents produced by Daily Mail demonstrate that Mr. Zwillenberg
directly communicated with both Google personnel and Daily Mail personnel related to, among
other things, programmatic strategy, contracting related to Google’s ad tech products, and Daily
Mail’s overall ad tech partnership with Google. Moreover, Mr. Zwillenberg’s discussions with
Google personnel did not always include agreed-upon custodians from the outset, demonstrating
that Mr. Zwillenberg is likely to have unique and non-duplicative information. Likewise, as for

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    Available at: https://www.wsj.com/articles/daily-mail-picks-digital-consultant-as-new-boss-1463046729.
3
 Available at: https://www.thedailybeast.com/nightmare-week-for-londons-last-press-lord-name-shamed-by-
meghan-markle-and-his-digital-genius-quits.
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Mr. Clarke, documents produced by Daily Mail demonstrate that he served as the Chair for
regular Programmatic Management Meetings at Daily Mail and communicated with Daily Mail
personnel—including Board members—on, among other things, issues related to Google’s AdX
product, Enhanced Dynamic Allocation, and programmatic revenue.

       Daily Mail has not denied that Messrs. Clarke and Zwillenberg possess relevant
documents and has even expressed willingness to add Mr. Clarke as a custodian.4 See Ex. C at
2. The assertion Daily Mail has made—that Messrs. Clarke and Zwillenberg had broader
responsibilities beyond those directly relevant to this case—ignores that the agreed-upon search
terms are designed to target relevant documents. Jan. 30, 2024 S. Henningson Ltr. to C.
Boisvert.5

        Daily Mail’s speculation that Messrs. Clarke and Zwillenberg’s relevant documents are
duplicative of those of the agreed-upon custodians, see Jan. 30, 2024 S. Henningson Ltr. to C.
Boisvert, is equally baseless because Daily Mail “cannot say with certainty (or even confidence)
that [the proposed custodians] do not have unique, relevant information” and because Daily
Mail could “utilize procedures to eliminate duplicative search output from their production.”
Blackrock Allocation Target Shares: Series S Portfolio v. Bank of N.Y. Mellon, 2018 WL
2215510, at *8-9 (S.D.N.Y. May 15, 2018) (granting motion to compel the inclusion of certain
custodians (internal quotation and citation omitted)). Moreover, Messrs. Clarke and Zwillenberg
“are likely to possess at least some of the following categories of relevant information not
available through other data sources”: “communicat[ions] directly with members of [DMGT’s]
board of directors,” “communicat[ions] directly with relevant third parties, such as business
partners, vendors, etc.,” and “communicat[ions] with non-custodian subordinates.” In re
Facebook, 2021 WL 10282213, at *2 (granting motion to compel the inclusion of two
high-level executives as document custodians based on the likelihood that they would have
relevant documents falling into these categories).

             B. Producing Documents from the Custodial Files of
                Messrs. Clarke and Zwillenberg is Proportional to the Needs of the Case

       The inclusion of Messrs. Clarke and Zwillenberg is proportional to the needs of the case
given Daily Mail’s allegations and in light of the substantial accommodations Google has
already made with respect to its proposed custodian list. See, e.g., Greater N.Y. Taxi Assoc.,
2017 WL 4012051, at *5 (finding that the addition of 4 custodians, whittled down from a list of
31, was proportional to the needs of the case in light of “the seriousness of the allegations levied

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  Daily Mail’s offer to add Mr. Clarke was conditioned on Google forgoing its ability to request additional
custodians or search terms with respect to the Requests. Google believes that Mr. Zwillenberg and other potential
individuals may be relevant to the Requests, and because Daily Mail has yet to substantially complete its
productions, this offer is unfairly prejudicial to Google. Documents yet to be produced by Daily Mail may further
indicate the relevance of additional custodians and/or search terms.
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 With respect to Mr. Clarke, Daily Mail also asserts that documents concerning his editorial decision-making are
protected by Daily Mail’s First Amendment privilege. Mar. 1, 2024 S. Henningson Ltr. to C. Boisvert. If Daily
Mail believes there is an applicable privilege relevant to any document located in Mr. Clarke’s files, Daily Mail
may assert such privilege pursuant to the procedures in the Court’s March 17, 2023 Order Regarding Discovery
Procedure, ECF 508.
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against the defendants, the amount of money at stake, . . . and the potential evidentiary value of
documents in the custodians’ possession”). Out of Google’s original list of 13 additional
custodians, Daily Mail accepted two, and Google otherwise withdrew its request (reserving all
rights) as to another nine. With the inclusion of Messrs. Clarke and Zwillenberg, Daily Mail’s
full custodian list would reach a total of 15 individuals. This is proportional to the size and
scope of Daily Mail’s allegations, especially in light of Google’s production of documents from
the custodial files of over 150 individuals, four of which were specifically requested by Daily
Mail and the remainder of which are generally relevant to Daily Mail’s broad claims.

                                              ***

      For the reasons stated above, the Court should compel Daily Mail to search for and
produce documents from the custodial files of Martin Clarke and Paul Zwillenberg.




Dated: March 11, 2024                                Respectfully submitted,

                                                     /s/ Craig M. Reiser
                                                     Craig M. Reiser
                                                     Daniel Bitton
                                                     Denise L. Plunkett
                                                     Eva H. Yung
                                                     Claire L. Haws
                                                     AXINN, VELTROP & HARKRIDER LLP
                                                     114 West 47th Street
                                                     New York, New York 10036
                                                     Telephone: (212) 728-2200
                                                     Fax: (212) 728-2201
                                                     creiser@axinn.com
                                                     dbitton@axinn.com
                                                     dplunkett@axinn.com
                                                     eyung@axinn.com
                                                     chaws@axinn.com

                                                     Bradley Justus (pro hac vice)
                                                     AXINN, VELTROP & HARKRIDER LLP
                                                     1901 L Street NW
                                                     Washington, DC 20036
                                                     Telephone: (202) 912-4700
                                                     Fax: (202) 912-4701
                                                     bjustus@axinn.com
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                                        Caroline P. Boisvert (pro hac vice)
                                        AXINN, VELTROP & HARKRIDER LLP
                                        90 State House Square
                                        Hartford, Connecticut 60103
                                        Telephone: (860) 275-8100
                                        Fax: (860) 275-8101
                                        cboisvert@axinn.com

                                        Counsel for Defendants
                                        Google LLC and Alphabet Inc.



CC: All Counsel of Record (via ECF)
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                   Federal Rule of Civil Procedure 37(a)(1) Certification

       I hereby certify that Defendants Google LLC and Alphabet Inc. have in good faith
conferred with Associated Newspapers Ltd. and Mail Media, Inc. and that the parties have
reached an impasse.



                                                   /s/ Craig M. Reiser
                                                   Craig M. Reiser
                                                   AXINN, VELTROP & HARKRIDER LLP
                                                   114 West 47th Street
                                                   New York, New York 10036
                                                   Telephone: (212) 728-2200
                                                   Fax: (212) 728-2201
                                                   creiser@axinn.com

                                                   Counsel for Defendants
                                                   Google LLC and Alphabet Inc.
